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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-01382-NYW

  ANDREW SCHOBER,

         Plaintiff,

  v.

  BENEDICT THOMPSON, et al.,

         Defendants.




    NOTICE OF WITHDRAWAL OF ATTORNEY SARAH JACKSON DONAHUE, ESQ.

         To the Clerk of Court and all parties of record:

        Sarah Jackson Donahue, Esq. hereby provides notice of her withdrawal as counsel in this

 case. Carl A. Hjort, III, Esq. of Cantafio & Song, PLLC shall remain as counsel of record.

                                       Respectfully submitted,
                                       /s/Carl A. Hjort, III
                                       Carl A. Hjort, III
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                                       Thompson and Edward J. Thompson




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                                  CERTIFICATE OF SERVICE
         I hereby certify that on this 10th day of August, 2022 I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system. As such, this document was served on all

  counsel of record. I also served the pro se Defendants via email at the following addresses:



         Oliver Read
         Oliverread2001@gmail.com

         Hazel Wells
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                                                        /s/Carl A. Hjort, III
                                                        Carl A. Hjort, III




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